23-60547-mmp Doc#2 Filed 10/24/23 Entered 10/24/23 10:43:54 Main Document Pg 1 of 3




                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

  IN RE:                                 §
  CRU TRANSPORTATION LLC                 §
                                         §
                                         §
        DEBTOR                           §   BANKRUPTCY CASE NO. 23-60547

                                BALANCE SHEET
     23-60547-mmp Doc#2 Filed 10/24/23 Entered 10/24/23 10:43:54 Main Document Pg 2 of 3

                                                           Balance Sheet
                                                       CRU TRANSPORTATION LLC
                                                            As of: 9/30/2023

10/10/2023                                                                                                      Page 1 of 2

Current Assets

     1000               FUB                                                                         -7,791.45
     1030               Receivables                                                                17,658.00
     1031               Deposit - PENSKE                                                           40,000.00
     1033               Factoring - Reserve                                                            -13.57
     2036               Driver Loan                                                                  1,378.82

                                                                       Total Current Assets        51,231.80

Fixed Assets

     1700.01            Truck 6479                                                                131,111.59
     1700.02            Truck 8809                                                                131,111.59
     1700.03            Truck 0274                                                                138,977.00
     1700.04            Truck 9584                                                                204,601.72
     1700.05            Truck 9555                                                                204,601.72
     1701.01            Acc Depr - 6479                                                           -131,111.59
     1701.02            Acxc Depr - 8809                                                          -131,111.59

                                                                         Total Fixed Assets       548,180.44

                                                                                                 Total Assets   599,412.24


Current Liabilities


     2010               Payables                                                                     3,468.24
     2011               American Express Credit Card                                                 4,236.82
     2030               Payroll Taxes Due                                                            3,658.13

                                                                     Total Current Liabilities     11,363.19

Long Term Liabilities

     2500               FUB Credit Line                                                           188,937.24
     2501               William Hoffman Loan                                                       90,000.00
     2502               FUB Equipment Line                                                        387,580.09
     2503               Triple Crown Loan                                                          47,404.25
     2504               Everest Loan                                                               19,561.46
     2505               SBA - Ready Capital                                                       303,500.00

                                                                 Total Long Term Liabilities     1,036,983.04

Equity

     9499               Opening Balance                                                           -264,578.34
     9500.01            Adam                                                                       64,531.69
     9500.02            Jordan                                                                     -16,403.11
     9500.03            Jereell                                                                   124,000.00

                                                                                 Total Equity      -92,449.76
    23-60547-mmp Doc#2 Filed 10/24/23 Entered 10/24/23 10:43:54 Main Document Pg 3 of 3

10/10/2023   Balance Sheet    CRU TRANSPORTATION LLC                                    Page 2 of 2


                                                                Retained Earnings       -356,484.23

                                                             Total Liabilities/Equity   599,412.24
